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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 TIMOTHY KING, MARIAN ELLEN
 SHERIDAN, JOHN EARL HAGGARD,
 CHARLES JAMES RITCHARD, JAMES
 DAVID HOOPER and DAREN WADE                   No. 2:20-cv-13134
 RUBINGH,
                                               Hon. Linda V. Parker
               Plaintiffs,
   v.

 GRETCHEN WHITMER, in her official
 capacity as Governor of the State of
 Michigan, JOCELYN BENSON, in her
 official capacity as Michigan Secretary of
 State and the Michigan BOARD OF STATE
 CANVASSERS,

               Defendants
   and

 CITY OF DETROIT, DEMOCRATIC
 NATIONAL COMMITTEE and
 MICHIGAN DEMOCRATIC PARTY,

               Intervenor-Defendants.


  THE CITY OF DETROIT’S CONCURRENCE WITH DEFENDANTS
 WHITMER AND BENSON’S SUPPLEMENTAL BRIEF IN SUPPORT OF
        MOTION FOR SANCTIONS UNDER 28 U.S.C. § 1927

         The City of Detroit concurs in the arguments made by Governor Gretchen

Whitmer and Secretary of State Jocelyn Benson in their Supplemental Brief in

Support of Motion for Sanctions Under 28 U.S.C. § 1927 (ECF No. 118-2).

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      While it has always been clear that no reasonable person, after any due

diligence, would conclude that the claims made in this litigation were “truly

statements of fact,” the astounding admissions by Sidney Powell leave no room for

doubt that she and all of the attorneys on her team should bear the costs of this

litigation and should be barred from practicing in any federal or state court.


April 23, 2021                                Respectfully submitted,

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                          CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 23, 2021, I electronically filed the

foregoing document with the Clerk of the Court using the ECF system, which will

send notification of such filing to all attorneys of record registered for electronic

filing.

                                             FINK BRESSACK

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